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IN THE UNITED STATES DISTRICT COURT OSAUG’ .
FOR THE WESTERN DISTRICT OF TENNESSEE 7 H,I:f?
WESTERN DIVISION N@hq
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ELLIPSIS, INC., ) "`“:5
)
Plaintiff, )
)
vs. ) No. 03-2939-BV

THE COLOR WORKS, INC.,

Defendants.

 

THE COLOR WORKS, INC.,

V.

)

)

)

)

)

)

)

)
Third-Party Plaintiff )
)

)

)

M.ARY ELIZABETH WADE, )
a/k/a Elizabeth Wade, )
Individually, )
)

)

Third-Party Defendant

 

ORDER DENYING PLAINTIFF’S AN'D THIRD-PARTY
DEFENDANT'S MOTION TO COMPEL

 

Before the court is the August 5, 2005 motion of the
plaintiff, Ellipsis, Inc., and Third-Party Defendant Mary Elizabeth
Wade, a/k/a Elizabeth Wade, pursuant to Federal Rule of Civil
Procedure 37(a)(2)(B), to compel additional responses to its Second
Set of Interrogatories and Second Request for Production of
Dccuments. This motion has been referred to the United States

Magistrate Judge for determination. The request to compel

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additional discovery was a part of a motion that also requested

that the court enter an. order extending the deadlines of the

scheduling order. The court entered an order on that motion on
August 10, 2005. Therefore, the court only addresses the motion
to compel in this order. For the following reasons, the motion to

compel is denied.

In this motion, Ellipsis, Inc. and. Wade submit that the
answers to interrogatories Nos. 13, 14, 15, 17, 19 and 21 and
responses to requests for documents Nos. 33, 34, 35, 36, 37, 38,
39, 40, 45, 47, 48, 49, 51, 52, 53, 56, 57, 58, 59, 60, 61, and 63
are unsatisfactory. The parties claim that without proper
responses to these requests, it will not be able to prosecute or
defend its case as the information requested relates specifically
to the issues present in this case.

Rule 26 of the Federal Rules of Civil Procedure, which governs
discovery, only applies to documents in possession of the
defendant. The defendant. The Color Works, Inc., has averred that
it has produced all non-privileged documents that are responsive to
Ellipsis' and Wade's Second Request for Production of Documents
that it has in its possession.

Furthermore, after reviewing the interrogatories that have
been propounded by the plaintiffs, along with the defendant's

responses, the court finds that the information provided by The

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Color Works, Inc., is sufficient and that its objections to certain
requests are legitimate. Accordingly, Ellipsis' and Wade's motion
to compel further responses to its discovery requests is denied.

IT IS SO ORDERED this 16th day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DITRICT oURT-WESTRN ISTICRT oF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 165 in
case 2:03-CV-02939 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

